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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 DAVID GONZALEZ,                                  )      CASE NO. 1:08CV1707
                                                  )               1:04CR328
                Petitioner,                       )
                                                  )      JUDGE JOHN R. ADAMS
        v.                                        )
                                                  )      ORDER
 UNITED STATES OF AMERICA,                        )      [RESOLVING DOCS. 1 & 123]
                                                  )
                Respondent.                       )



        This matter comes before the Court upon Petitioner David Gonzalez’ pro se Motion to

 Vacate, Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255. Case No. 1:04CR328, Doc.

 123; Case No. 1:08CV1707, Doc. 1. The Court has been advised, having reviewed the petition and

 the underlying record in Gonzalez’ criminal case. For the reasons set forth below, Petitioner’s

 motion is DENIED.

                                              I. Facts

        On May 27, 2004, Officer Shannon Vachet executed a traffic stop on a vehicle being driven

 by Gonzalez. Vachet pulled the vehicle over after witnessing it weave between lanes and change

 lanes without a signal, both traffic violations. Vachet then had Gonzalez step out of the vehicle

 while he issued him a warning for the traffic violations. After issuing the warning, Vachet informed

 Gonzalez that he could leave the scene. Instead, Gonzalez remained and engaged in a conversation

 with the officer about the weather. During that conversation, Vachet mentioned that he ordinarily

 asks a driver if they have anything illegal in his/her vehicle. Gonzalez responded to this question

 by asking if Vachet would like to search the vehicle. Vachet responded in the affirmative and again
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 clarified that Gonzalez was consenting to a search. Gonzalez again indicated his consent and Vachet

 searched the vehicle.

        During the search, Vachet noticed a piece of molding in the cargo area of the vehicle that was

 not properly aligned. Vachet pressed slightly and the molding gave way. Behind the molding in the

 speaker well of the vehicle, Vachet observed bricks that appeared to contain kilograms of cocaine.

 Gonzalez was then placed under arrest, the car was towed, and a search warrant was obtained. The

 search warrant was executed and cocaine was found in the vehicle.

        On June 23, 2004, a federal grand jury indicted Petitioner on one count of possession with

 intent to distribute cocaine in violation of 18 U.S.C. § 841. Counsel was appointed and moved to

 suppress the evidence against Gonzalez on August 17, 2004. On February 10, 2005, with that

 motion pending, Gonzalez terminated that attorney and received permission to proceed pro se. With

 Gonzalez proceeding as his own attorney, a hearing on the motion to suppress was held on March

 21, 2005. At the conclusion of the hearing, the Court orally denied the motion to suppress. On April

 11, 2005, Gonzalez’s newly obtained counsel entered an appearance and the matter proceeded to trial

 that day. At the conclusion of the trial, Gonzalez was convicted by a jury. Based on his prior drug

 conviction, Gonzalez was sentenced to life in prison on September 13, 2005.

        Gonzalez timely appealed his conviction to the Sixth Circuit. On January 9, 2008, Gonzalez’

 conviction and sentence were affirmed. See U.S. v. Gonzalez, 512 F.3d 285 (6th Cir. 2008). On July

 16, 2008, Gonzalez filed this petition, challenging his sentence. Specifically, Gonzalez asserts that

 his trial counsel was ineffective for failing to have the evidence against him suppressed. The Court

 finds no merit in this contention.

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                                          II. Law and Analysis

         Initially, the Court notes that Gonzalez’ challenge is improper. Gonzalez conducted, pro se,

 the evidentiary hearing in support of the motion to suppress filed by his original counsel. Thus, any

 deficiencies in that hearing cannot form the basis of a Sixth Amendment violation. See U.S. v.

 Smith, 907 F.2d 42, 45 (6th Cir. 1990) (noting that when a defendant has properly waived counsel,

 “he cannot complain about the quality of his own defense by arguing that it amounted to ineffective

 assistance of counsel.”).

         The standard for ineffective assistance of counsel is a two-part test set forth by the Supreme

 Court in Strickland v. Washington, 466 U.S. 668 (1984). First, Petitioner must show that his

 counsel’s performance was deficient. Id. at 687. Counsel must not merely have erred, but erred so

 “serious[ly] that counsel was not functioning as the ‘counsel’ guaranteed ... by the Sixth

 Amendment.” Id. Second, Petitioner must show that his counsel’s deficient performance actually

 prejudiced his defense. Id. To do so, Petitioner must show that his counsel’s conduct deprived him

 of a fair trial and that the result of the trial is therefore unreliable. Id.

         A. Counsel’s Failure to Gain Suppression of the Evidence

         To the extent that Gonzalez’ motion could be construed as a challenge to the adequacy of his

 original counsel’s motion to suppress, the Court finds no merit in the arguments raised therein.

         In his motion, Gonzalez asserts that his consent was obtained following an unlawful

 continued detention. Gonzalez alleges that the traffic stop was completed and that any subsequent



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 questioning by the officer constituted an unlawful detention. The Sixth Circuit has rejected such an

 argument.

        A law enforcement officer does not violate the Fourth Amendment merely by
        approaching an individual, even when there is no reasonable suspicion that a crime
        has been committed, and asking him whether he is willing to answer some questions.
         This includes a request for consent to search the individual’s vehicle. And, this
        consent is not vitiated merely because the valid suspicion of wrongdoing for which
        an individual has been stopped proves to be unfounded or does not result in
        prosecution and the individual is free to go before being asked. Of course, when a
        law enforcement officer no longer has any reasonable suspicion of criminal activity,
        the detained individual is constitutionally free to leave, and if the officer rejects the
        individual’s indication that he would like to leave, valid consent can no longer be
        obtained.

 U.S. v. Erwin, 155 F.3d 818, 823 (6th Cir. 1998) (internal citations omitted and emphasis added).

        In the instant matter, Gonzalez does not dispute that probable cause existed to support the

 initial traffic stop. Instead, he contends that the duration of that stop was unlawful. This argument

 is rejected based upon the evidence introduced during the suppression hearing in this matter. Officer

 Vachet testified clearly that Gonzalez was informed that he was “free to leave from the traffic stop.”

 Suppression Hearing Transcript at 26 (Mar. 21, 2005). Gonzalez, however, made no attempt to

 leave. Vachet then spoke with him about the weather and indicated that generally he asked each

 driver whether his/her vehicle contained anything illegal. This prompted Gonzalez to ask if Vachet

 would like to search the vehicle. Vachet then verified that Gonzalez was consenting to a search.

 Thereafter, Vachet searched the vehicle and found what appeared to be cocaine behind the speakers

 in the cargo area of the vehicle.

        Based upon the uncontradicted evidence presented from the officer, there was no unlawful

 continued detention. Gonzalez was told that he was free to leave before Vachet even mentioned the

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 idea of searching the vehicle. Moreover, Vachet was not standing in a way that would have

 prohibited Gonzalez from leaving the area. Consequently, the Court finds that there was no

 continued detention. Rather, once Gonzalez was told that he was free to leave, he engaged in a

 consensual encounter during which he offered to have the vehicle searched. Gonzalez therefore has

 failed to demonstrate a Fourth Amendment violation. Accordingly, he has failed to demonstrate that

 his counsel was deficient.

        To the extent that Gonzalez challenges the factual finding that he consented to the search,

 the record again resolves such a claim. Officer Vachet testified unequivocally that Gonzalez

 consented to the search, and the Court heard no evidence to the contrary. The record, therefore,

 establishes that Gonzalez consented to the search.

        B. Brady claim

        Gonzalez also appears to argue that the Government failed to provide him with exculpatory

 evidence. Gonzalez alleges that the Government failed to produce any dash cam footage of the stop,

 thereby requiring the Court to rely on the officer’s testimony. Gonzalez does not state a valid claim.

 The testimony from Vachet revealed that the dash cam on his cruiser was not operational during the

 stop in question. Accordingly, there is no alleged exculpatory evidence that was not provided during

 the course of these proceedings.




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                                         III. Conclusion

        For the reasons stated above, Petitioner David Gonzalez’ Motion to Vacate, Set Aside, or

 Correct Sentence pursuant to 28 U.S.C. § 2255 is hereby DENIED.

        The Court certifies, pursuant to 28 U.S.C. § 1915(A)(3), that an appeal from this decision

 could not be taken in good faith, and that there is no basis upon which to issue a certificate of

 appealability.

        This Order is entered pursuant to Federal Rule of Civil Procedure 58.



        IT IS SO ORDERED.




 August 18, 2008                               /s/ John R. Adams
 Date                                        John R. Adams
                                             U.S. District Judge




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